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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                    October 07, 2024
                          UNITED STATES DISTRICT COURT
                                                                                   Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SUPERIOR CONSULTING GROUP, et    §
al.,                             §
                                 §
     Plaintiffs,                 §
VS.                              § CIVIL ACTION NO. 4:23-CV-4407
                                 §
PHH MORTGAGE CORPORATION, et al, §
                                 §
     Defendants.                 §

                      MEMORANDUM OPINION AND ORDER

       In this case, Plaintiffs are fighting Defendants’ attempts to conduct a nonjudicial

foreclosure. The case was removed to this Court from Texas state court under the diversity

jurisdiction statute, 28 U.S.C. § 1332. (Dkt. 1). Plaintiffs assert claims for fraud, breach of

contract, quiet title, and violations of the Texas Debt Collection Act (“TDCA”). (Dkt. 1-1

at pp. 9–14).

       Pending before the Court is a motion to dismiss filed by Defendants PHH Mortgage

Corporation (“PHH”) and Mortgage Electronic Registration Systems, Inc. (“MERS”).

Defendants argue, among other things, that this case should be dismissed under Federal

Rule of Civil Procedure 12(b)(6) because Plaintiffs’ claims against them are barred by the

doctrine of res judicata. The Court agrees as to all of Plaintiffs’ claims but one. Even though

Plaintiffs’ claim under the TDCA survives the res judicata bar, it is nevertheless

inadequately pled.

       Plaintiffs have not responded to Defendants’ motion, and they have not amended

their complaint despite having received the Court’s leave to do so. Defendants’ motion


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(Dkt. 16) is GRANTED. Plaintiffs’ claims against PHH and MERS are DISMISSED

WITH PREJUDICE. Plaintiffs’ claims against Defendant Guild Mortgage Company

(“Guild”) are DISMISSED WITHOUT PREJUDICE.

       —Rule 12(b)(6)

       Rule 8 of the Federal Rules of Civil Procedure requires a pleading to contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.” Fed.

R. Civ. P. 8(a)(2). A motion filed under Federal Rule of Civil Procedure 12(b)(6) tests a

pleading’s compliance with this requirement and is “appropriate when a defendant attacks

the complaint because it fails to state a legally cognizable claim.” Ramming v. United

States, 281 F.3d 158, 161 (5th Cir. 2001). A complaint can be dismissed under Rule

12(b)(6) if its well-pleaded factual allegations, when taken as true and viewed in the light

most favorable to the plaintiff, do not state a claim that is plausible on its face. Amacker v.

Renaissance Asset Mgmt., LLC, 657 F.3d 252, 254 (5th Cir. 2011); Lone Star Fund V

(U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). As the Fifth Circuit

has further clarified:

              A claim has facial plausibility when the plaintiff pleads factual content that
              allows the court to draw the reasonable inference that the defendant is liable
              for the misconduct alleged. This includes the basic requirement that the
              facts plausibly establish each required element for each legal claim.
              However, a complaint is insufficient if it offers only labels and conclusions,
              or a formulaic recitation of the elements of a cause of action.
              Coleman v. Sweetin, 745 F.3d 756, 763–64 (5th Cir. 2014) (quotation marks
              and citations omitted).

       Furthermore, “a complaint may be dismissed if it clearly lacks merit—for example,

where there is an absence of law to support a claim of the sort made.” Thurman v. Medical



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Transportation Management, Inc., 982 F.3d 953, 956 (5th Cir. 2020) (quotation marks

omitted).

       When considering a motion to dismiss under Rule 12(b)(6), the Court’s review is

limited to the complaint; any documents attached to the complaint; any documents attached

to the motion to dismiss that are central to the claim and referenced by the complaint; and

matters subject to judicial notice under Federal Rule of Evidence 201. Allen v. Vertafore,

Inc., 28 F.4th 613, 616 (5th Cir. 2022); George v. SI Group, Inc., 36 F.4th 611, 619 (5th

Cir. 2022).

       —Res judicata

       Dismissal under Rule 12(b)(6) on res judicata grounds is appropriate when the

elements of res judicata are apparent on the face of the pleadings and orders from prior

lawsuits. See Meyers v. Textron, Inc., 540 Fed. App’x 408, 410 (5th Cir. 2013); Ho-Huynh

v. Bank of Am., N.A., No. 3:14-CV-69, 2014 WL 12599510, at *2 (S.D. Tex. Nov. 14,

2014). The doctrine of res judicata precludes relitigation of claims that have been finally

adjudicated. Bullard v. Webster, 679 F.2d 92, 93 (5th Cir. 1982).

       “[W]hile federal law ultimately determines whether a federal judgment precludes a

subsequent action or argument, when the basis of the original court’s jurisdiction is

diversity of citizenship, federal courts should apply the law of the forum state unless the

state law is incompatible with federal interests.” American Home Assurance Co. v.

Chevron, USA, Inc., 400 F.3d 265, 271 n.20 (5th Cir. 2005). “Under Texas law, a party

seeking to have an action dismissed on the basis of res judicata must establish the presence

of three things: (1) a prior final judgment on the merits by a court of competent jurisdiction;


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(2) identity of parties or those in privity with them; and (3) a second action based on the

same claims as were raised or could have been raised in the first action.” E.E.O.C. v.

Jefferson Dental Clinics, PA, 478 F.3d 690, 694 (5th Cir. 2007) (quotation marks omitted).

Here, all three elements are met as to Plaintiffs’ claims for fraud, breach of contract, and

quiet title.

        i.     Judgment on the merits

        First, there is a prior final judgment on the merits by a court of competent

jurisdiction. Judge Hoyt dismissed, with prejudice, claims brought by Plaintiff Superior

Consulting Group (“Superior”) and Tracey Woodson (“Tracey”) against PHH in a prior

action, Superior Consulting Group v. PHH Mortgage Corporation, Southern District of

Texas case number 4:22-CV-896. (Dkt. 16-1 at pp. 14–19). Superior and Tracey also sued

MERS and Guild in the prior action but voluntarily dismissed those two defendants before

Judge Hoyt rendered his judgment. (Dkt. 16-1 at p. 16). The claims in Judge Hoyt’s case

were identical to those brought by Superior and Plaintiff Karlton Woodson (“Karlton”),

Tracey’s husband, in this lawsuit, except that this lawsuit contains a claim for violations of

the TDCA. (Dkt. 1-1 at p. 13).

        ii.    Privity

        Second, the parties in this case are either identical to or in privity with the parties

from Judge Hoyt’s case. Under Texas law, “there is no categorical rule for privity; instead

the courts look to the circumstances of each case.” Jefferson Dental Clinics, 478 F.3d at

694 (quotation marks omitted). The Court examines in particular “the interests the parties

shared.” Amstadt v. U.S. Brass Corp., 919 S.W.2d 644, 653 (Tex. 1996). “Privity exists if


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the parties share an identity of interests in the basic legal right that is the subject of

litigation.” Id. “If the second plaintiffs seek to relitigate the matter which was the subject

of the earlier litigation, res judicata bars the suit even if the second plaintiffs do not allege

causes of action identical to those asserted by the first.” Id. “Res judicata also precludes a

second action on claims that arise out of the same subject matter and which might have

been litigated in the first suit.” Id.

       Under the circumstances of this case, the privity requirement is met. Superior and

Karlton, who co-signed the relevant deed of trust with Tracey, are seeking to relitigate the

matter which was the subject of Judge Hoyt’s case—namely, whether certain assignments

in the chain of title affected Defendants’ standing to foreclose on the subject property. (Dkt.

1-1 at p. 9; Dkt. 16-1 at pp. 6, 14–17). Plaintiffs’ claims in this lawsuit for fraud, breach of

contract, and quiet title either were litigated or could have been litigated in Judge Hoyt’s

case. In fact, when they drafted their pleading in this case, Plaintiffs evidently simply

copied the pleading from Judge Hoyt’s case, changed Tracey’s name to Karlton’s, and

added the TDCA claim. (Dkt. 1-1 at pp. 5–16; Dkt. 16-1 at pp. 2–12). The second res

judicata element is satisfied. See In re Estate of Ayala, 986 S.W.2d 724, 727 (Tex. App.—

Corpus Christi 1999, no pet.) (holding that a party who brought a prior action to invalidate

a will was in privity with three siblings who brought a subsequent action to invalidate the

will) (“All of these children are in the same class of heirs or devisees and have the same

interest in voiding their father’s holographic will.”).




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       iii.   Same claims

       Finally, this lawsuit features claims that were raised or could have been raised in

Judge Hoyt’s case. As previously noted, Plaintiffs’ claims in this lawsuit for fraud, breach

of contract, and quiet title either were litigated or could have been litigated in Judge Hoyt’s

case. The third res judicata element is satisfied, and Plaintiffs’ claims for fraud, breach of

contract, and quiet title are barred by res judicata.

       —Plaintiffs’ TDCA claim

       Plaintiffs have one cause of action remaining: their claim that Defendants have

violated the TDCA. (Dkt. 1-1 at pp. 13–14). Plaintiffs contend that, “by moving forward

with foreclosure proceedings[,] Defendants threaten to take an action prohibited by law in

violation of the TDCA Tex. Fin. Code § 392.301(a)(8).” (Dkt. 1-1 at p. 14). This claim

could possibly survive the res judicata bar because, while it is extremely vague, it appears

to stem from conduct that postdates Judge Hoyt’s final judgment and it does not appear to

arise out of the previously decided challenges to the assignments in the chain of title.

Assuming that res judicata does not bar this claim, the claim is still inadequately pled.

       Section 392.301(a)(8) of the Texas Finance Code (“Section 392.301(a)(8)”)

prohibits a debt collector from “threatening to take an action prohibited by law” when

collecting a debt. In support of their claim under this section, Plaintiffs allege that

“Defendants are seeking to foreclose on a void loan that has expired by Defendants’ failure

to foreclose within 4 years of default.” (Dkt. 1-1 at p. 14). Plaintiffs further allege that

“Defendants seek to fill [sic] the property at a foreclosure sale prior to giving the proper




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notices as required by Texas law.” (Dkt. 1-1 at p. 14). These barebones allegations will not

support a claim under the TDCA.

       First, Plaintiffs’ statement of Texas statute-of-limitations law is incorrect; the four-

year limitations period to enforce a real property lien does not necessarily begin running at

default. “By statute, if a series of notes or obligations or a note or obligation payable in

installments is secured by a lien on real property, limitations does not begin to run until the

maturity date of the last note, obligation, or installment.” Holy Cross Church of God in

Christ v. Wolf, 44 S.W.3d 562, 566 (Tex. 2001). And “[i]f a note or deed of trust secured

by real property contains an optional acceleration clause, . . . the action accrues only when

the holder actually exercises its option to accelerate.” Id. Even if a lienholder exercises its

option to accelerate, the lienholder can reset the limitations period by rescinding its

acceleration and notifying the borrower that the loan has been reaccelerated. Moore v.

Wells Fargo Bank, N.A., 685 S.W.3d 843, 845 (Tex. 2024). Plaintiffs have not alleged facts

showing that the limitations period to enforce a real property lien has expired in this case.

Accordingly, Plaintiffs’ naked statement that Defendants “fail[ed] to foreclose within 4

years of default” does not establish that Defendants have violated the TDCA.

       Similarly, Plaintiffs’ unadorned allegation that Defendants have failed to “giv[e] the

proper notices as required by Texas law” does not establish a claim under the TDCA.

Defendants’ alleged violations of statutory notice requirements will not support a claim

under Section 392.301(a)(8) unless Plaintiffs can allege, at the very least, that Defendants

waived their contractual right to foreclose and that Plaintiffs are not in default. Rucker v.

Bank of America, N.A., 806 F.3d 828, 831 (5th Cir. 2015) (“Here, BOA never waived its


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contractual right to foreclose, and Rucker was in default at all times after October 2007.

Thus, irrespective of any statutory notice requirements, BOA did not violate Section

392.301(a)(8) by threatening to foreclose.”); see also Mahmood v. Bank of America, N.A.,

No. 3:11-CV-3054, 2012 WL 527902, at *4 (N.D. Tex. Jan. 18, 2012), adopted, 2012 WL

527901 (N.D. Tex. Feb. 16, 2012) (“[B]y no stretch is the threat of foreclosure, in light of

[Plaintiff’s] admitted failure to pay his mortgage loan as contracted, an action prohibited

by law.”). Moreover, Plaintiffs have not pled that a foreclosure sale has taken place, and

claims for violations of statutory foreclosure sale notice requirements “are cognizable only

after a foreclosure.” Kew v. Bank of America, N.A., No. 4:11-CV-2824, 2012 WL 1414978,

at *6 (S.D. Tex. Apr. 23, 2012). Accordingly, Plaintiffs’ bare allegation that Defendants

have failed to “giv[e] the proper notices as required by Texas law” does not establish a

claim under the TDCA.

       —Unserved defendant

       Plaintiffs have not served Guild, so Guild has of course not moved for dismissal of

Plaintiffs’ claims against it. Nevertheless, the Court will dismiss the claims against Guild

for the same reasons that it is dismissing the claims against PHH and MERS. An unserved

defendant can benefit from a meritorious motion to dismiss filed by similarly situated

defendants, as long as the claims against the unserved defendant are dismissed without

prejudice. See Gonzales v. Reilley, No. 22-40195, 2023 WL 7443213, at *4 (5th Cir. Nov.

9, 2023).




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       —Conclusion

       For the reasons stated above, the motion to dismiss filed by Defendants PHH

Mortgage Corporation and Mortgage Electronic Registration Systems, Inc. (Dkt. 16) is

GRANTED. Plaintiffs’ claims against PHH and MERS are DISMISSED WITH

PREJUDICE. Plaintiffs’ claims against Defendant Guild Mortgage Company are

DISMISSED WITHOUT PREJUDICE. The Court will issue a separate final judgment.

        SIGNED at Houston, Texas on October 7, 2024.


                                              _______________________________
                                                  GEORGE C. HANKS, JR.
                                              UNITED STATES DISTRICT JUDGE




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